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              IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MARYLAND
                                                      Case No.:      1:21-cv-00532
    BRYCE CARRASCO

                    Plaintiff
                                                      Memorandum in support of Complaint and
    v.                                                Response in Opposition to Motion to Extend
                                                      Time to File Answer
    M&T BANK

                    Defendant



MEMORANDUM IN SUPPORT OF RESPONSE IN OPPOSITION TO MOTION
      TO EXTEND TIME TO FILE ANSWER TO COMPLAINT

         1.       I ask that this court review this memorandum and enter DEFAULT Judgement in

favor of Plaintiff on March 25, 2021 if the defendant fails to answer the Complaint by the current

deadline of March 25, 2021.

         2.       Mr. Moffet indicated on a telephone call today 3/23/2021 that “I do not plan on

answering the complaint by the deadline of March 25, 2021.”

         3.       Mr. Moffet went on to say, “what exactly do you think will happen if I do not file

an answer to your complaint by Thursday [3/25/2021]?”

         4.       Plaintiff responded: “Nothing but it just doesn’t look good if you miss the

deadline,” since the Honorable Judge Gallagher has not Ordered otherwise.

         5.       I find that Mr. Moffet’s presumption that this Court will automatically appease his

each and every demand to be an offensive display of arrogance, hubris and disrespect to both the

plaintiff and this Honorable Court.




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       6.       Mr. Moffet’s statements are a clear sign of bad faith and improper intention

regarding serious allegations brought before this honorable Court by Plaintiff, who is indeed

proceeding pro se, and doing so honestly and in pursuit of justice for consumers who might find

themselves similarly victimized by M&T’s illegal strategies.

       7.       Plaintiff believes that the Counsel for the Defendant will continue to make

frivolous procedural motions to delay litigation and increase the expense of litigation, in

violation of professionalism and standards of integrity and honesty which professional counsel

are bound by.

       8.       Mr. Moffet’s nonchalance and cocky attitude are offensive and improper, and

Plaintiff believes that the counsel for the Defendant will continue to operate in bad faith if they

are given the license to do so, despite the preponderance of evidence which clearly shows that

M&T Bank is liable for the relief demanded by Plaintiff in the complaint filed with this

honorable court.

       9.       Plaintiff respects the deadlines set by the Federal Rules of Civil Procedure and

plans to proceed in this civil action with integrity, honesty and good intentions. At the current

juncture, it is unclear whether the Defendant intends to do the same, so I find it necessary to

bring these facts before the court at the present time.

       10.      In further support of Plaintiff’s response in opposition to Defendant’s motion to

extend the time to file an answer, I ask that this court and the Honorable Judge Gallagher

consider these facts and the evidence filed which show the egregious misconduct of M&T, and if

Mr. Moffet thinks that 25 years of experience grants him the right to take advantage of

technicalities to delay litigation, shame on him; but, notwithstanding a court Order from Judge




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Gallagher, I would expect Defendant to abide by the timelines currently in force rather than

assuming that certain orders will be made by default.

       11.     Plaintiff files this memorandum respectfully this 23rd day March 2021.




____________/s/*____________
Bryce Carrasco




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